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              IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON


UNITED STATES OF AMERICA
v.                                             CRIMINAL NO. 2:21-cr-00127
RAYMOND DUGAN


                  MOTION FOR DISCOVERY PROTECTIVE ORDER

      The United States of America, by and through its attorney,

Julie M. White, Assistant United States Attorney, files this motion

for entry of a Discovery Protective Order.

      Defendant Raymond Dugan was charged by Indictment on July 29,

2021, with a violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

(possession      of    child      pornography).   The     investigation   of     the

Defendant involved the Defendant’s use of a website dedicated to

child pornography, and the users thereof, which are subject to

ongoing investigation.

      Discovery       materials        the   government    intends   to   produce

pursuant    to   its       discovery    obligations     under   Federal   Rule   of

Criminal Procedure 16 include law enforcement sensitive items

related to the ongoing investigation of investigative targets

suspected of engaging in online child sexual exploitation. The

dissemination         of    the    government’s     investigative     materials,

including search warrant affidavits, reports of investigation,

witness statements, court orders, and seized electronic data, and
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the information contained therein, could seriously jeopardize

those continuing investigations.

      The government requests that the Discovery Protective Order

require that the Defendant may not disseminate discovery items to

anyone other than counsel and members of the Defendant’s litigation

and investigative team. As proposed in the Protective Order,

defense counsel and the Defendant’s litigation team may show and

display materials produced in discovery to the Defendant, but may

not provide a copy of materials produced in discovery to the

Defendant   or    third     parties   to    keep     and   maintain    in   their

possession.      Further,    defense       counsel    and    the      Defendant’s

litigation team shall return materials produced in discovery to

the United States Attorney’s Office within 10 days upon conclusion

of the case before this Court, or, if an appeal is taken, upon

completion of such an appeal.

     Any materials produced in discovery, or information contained

therein, that are filed with the Court in connection with pre-

trial motions, trial, sentencing, or other matter before this

Court, shall be filed under seal and shall remain sealed until

otherwise ordered by this Court. This does not entitle either party

to seal their filings as a matter of course. The parties are

required to comply in all respects to the relevant local and

federal rules of criminal procedure pertaining to the sealing of

court documents.
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       Any violation of any term or condition of the Proposed Order

by the Defendant, the Defendant’s attorney of record, any member

of    the    defense    team,    or   any   attorney     for   the   United   States

Attorney’s Office for the Southern District of West Virginia, may

be sanctioned by contempt of court, and/or may be subject to

monetary or other sanctions as deemed appropriate by this Court.

       This Motion and the proposed Protective Order is submitted

for    the    purpose    of     ensuring    that   law    enforcement    sensitive

information contained in discovery materials are not disseminated

to third parties. For these reasons, the United States requests

this Court to authorize the proposed Discovery Protective Order.



Dated this 17th day of August 2021.


                                        Respectfully submitted,
                                        LISA G. JOHNSTON
                                        Acting United States Attorney

                                  By:
                                        /s/ Julie M. White
                                        JULIE M. WHITE
                                        Assistant United States Attorney
                                        WV Bar No. 13971
                                        300 Virginia Street, East Room 4000
                                        Charleston, WV 25301
                                        Telephone: 304-345-2200
                                        Fax: 304-347-5104
                                        Email: Julie.white@usdoj.gov
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                        CERTIFICATE OF SERVICE



     I hereby certify that on the 17th day of August 2021, I

electronically filed the foregoing document with the Clerk of Court

using the CM/ECF system, which will send a notification of such

filing (NEF) to all counsel of record.

                David Schles
                815 Quarrier Street
                Suite 306
                Charleston, WV 25301
                Email: Schleslaw@gmailcom



                                  /s/ Julie M. White
                                  JULIE M. WHITE
                                  Assistant United States Attorney
                                  WV Bar No. 13971
                                  300 Virginia Street, East Room 4000
                                  Charleston, WV 25301
                                  Telephone: 304-345-2200
                                  Fax: 304-347-5104
                                  Email: Julie.white@usdoj.gov
